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UNlTED STATES oF AMERICA, _
20\9 FEB 2b P Ll= 5q

Plaintiff, r_! ` _U y155 19 _cR-l£|\ U>,

v. C L E R n` Case No. l9-C1<-

[18 U.S.c. § 344(i)]
JAKQUICE D. ALEXANDER,

Defendant.

 

INDICTMENT

 

Arson of Building Used in lnterstate Commerce
THE GRAND JURY CHARGES THAT:
On or about June 25, 2018, in the State and Eastern District of Wisconsin,
JAKQUICE D. ALEXANDER
did maliciously damage by means of fire, a building located at 3515 West Locust Street,
Milwaukee, Wisconsin, which building was used in interstate commerce.

In violation of Title 18, United States Code, Section 844(i).

 

FOREPERSON
Dated: 3 . dc , H

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/" MA'['I`HEW D. KR E R
United States Attomey

Case 2:19-cr-OOO40-PP Filed 02/26/19 Page 1 of 1 Document 1

